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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BLUDGEON RIFFOLA LTD.,
                                                     Case No. 21-cv-02525
               Plaintiff,
                                                     Judge Gary Feinerman
               v.
                                                     Magistrate Judge Beth W. Jantz
ALI GEGE STORE, et al.,
               Defendants.


             PLAINTIFF’S MOTION TO STAY MOTION TO VACATE [96]
                       OR MODIFY BRIEFING SCHEDULE

       Plaintiff Bludgeon Riffola Ltd. (“Plaintiff” or “Bludgeon Riffola”) by its counsel, moves

this Honorable Court to stay defendant Womens Dresses -YIISU’s (“Defendant”) Motion to

Vacate Preliminary Injunction Order (“Defendant’s Motion”) [96].

       Defendant has had notice of this case and an asset restraint has been in place since at least

June 11, 2021. See [33] and [36]. On June 20, 2022, an unknown ghostwriter acting on behalf of

Defendant (see [98]) filed a Motion to Vacate Preliminary Injunction Order [96] to release the

restrained funds and move them to China in an effort evade any practical consequences for

trademark counterfeiting in the United States. On June 21, 2022, the Court set a briefing

schedule on Defendant’s Motion, requiring Plaintiff to respond to the Motion in less than a week

by June 27, 2022. See [97].

       On June 22, 2022, Plaintiff filed its Motion for Sanctions Against Defendant Womens

Dresses -YIISU for Committing Fraud on the Court [98] (“Motion for Sanctions”). Plaintiff’s

Motion for Sanctions includes a request to strike Defendant’s pleadings, including Defendant’s

Motion [96]. See [98]. On June 24, 2022, the Court entered and continued Plaintiff’s Motion for

Sanctions [98] to July 7, 2022 at 9:00 a.m. See [99]. As such, Plaintiff respectfully requests that

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the briefing schedule [97] on Defendant’s Motion [96] be stayed pending resolution of Plaintiff’s

Motion for Sanctions [98].

       Alternatively, Plaintiff requests that its response to Defendant’s Motion be extended until

at least July 25, 2022. In Defendant’s Motion [96], Defendant argues that the Preliminary

Injunction should be vacated due to a lack of personal jurisdiction. On June 6, 2022, the Court

granted Plaintiff leave to take jurisdictional discovery regarding Defendant. [95]. On June 10,

2022, Plaintiff promptly served jurisdictional discovery requests on Defendant, with a response

deadline of July 11, 2022. As such, if the briefing schedule on Defendant’s Motion [96] is not

stayed pending resolution of the Motion for Sanctions [98], then Plaintiff requests that its

response to Defendant’s Motion [96] be due on July 25, 2022 (fourteen days after Defendant’s

discovery responses are due on July 11, 2022). Given that the asset restraint has been in place for

over a year, there is no harm to Defendant in extending the response deadline and requiring

Defendant to respond to discovery.

Dated this 24th day of June 2022.            Respectfully submitted,

                                             /s/ Justin R. Gaudio
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                                             Counsel for Plaintiff Bludgeon Riffola Ltd.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 24th day of June 2022, I will electronically file the foregoing

with the Clerk of the Court using the CM/ECF system. The CM/ECF system will send a “Notice

of E-Filing” to the parties of record in this case, including Defendant Womens Dresses -YIISU.


                                             /s/ Justin R. Gaudio
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